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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                                 CASE NO. 4:18cr00172-01 JM

ANDREW SCHERELL                                                              DEFENDANT

                                                 ORDER
          Pending before the Court is the defendant’s motion for continuance of his jury trial

scheduled for October 22, 2018, 2018 (DE # 13).

          The Court has fully considered the motion for continuance and finds that the interests of

justice served by granting the continuance outweigh the best interests of the public and the

defendant for a speedy trial in that the issues are such that to deny the motion would deny

counsel for the defendant the reasonable time necessary for effective preparation for trial and

inherent development of any and all proper defenses which might be averred in the defendant's

behalf.

          IT IS THEREFORE ORDERED that the defendant’s motion for continuance (DE # 13) be,

and is hereby, GRANTED. Therefore, this matter is rescheduled for trial to a jury to begin at 9:15

a.m., on MONDAY, APRIL 29, 2019, in Courtroom #4-A, Richard Sheppard Arnold United States

Courthouse, Little Rock, Arkansas. Counsel are to be present thirty minutes prior to trial.

Jury instructions should be electronically submitted to the Court by April 19, 2019, to

jmchambers@ared.uscourts.gov.

          IT IS FURTHER ORDERED that the delay occasioned by the continuance shall be

excludable under the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).

          Dated this 9th day of October, 2018.


                                                       JAMES M. MOODY JR.
                                                       UNITED STATES DISTRICT JUDGE
